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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT


                                                )
PEOPLE’S UNITED BANK,                           )      CIVIL ACTION NO
                                                )
                  Plaintiff,                    )
                                                )
V.                                              )
                                                )
MICHAEL C. CULVER,                              )
                                                )
                  Defendant.                    )      MAY 2, 2017
                                                )


                                            COMPLAINT

I.        PARTIES:

          1.      The Plaintiff is People’s United Bank (“People’s”), a federally chartered stock

savings bank located in Bridgeport, Connecticut, the state designated in its Articles of

Association as the locus of its main office.

          2.      The Defendant, Michael C. Culver (“Culver”), is an individual and a citizen of the

State of New York. Culver may be served with process at 162 Amenia Union Road, Wassaic,

New York, 12592 in accordance with the laws of the State of Connecticut, Connecticut General

Statutes Section 52-59b.

II.       JURISDICTION AND VENUE:

          3.      The Court has jurisdiction over the lawsuit under 28 U.S.C. ¶1332(a)(1) because

the plaintiff and the defendants are citizens of different states and the amount in controversy

exceeds $75,000.00, excluding interest and costs.




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          4.      Venue is proper in this district under 28 U.S.C. ¶1391 because the events giving

rise to the claim occurred within this district and the defendants consented to personal

jurisdiction within this district.

III.      FIRST COUNT: Breach of Guaranty of the 2011 Loan Agreement By
          Michael C. Culver:

          5.      At all relevant times, Skip Barber Racing School LLC (the “Racing School”) is

and has been a limited liability company created under the laws of the State of Delaware and

having a place of business at 29 Brook Street, Lakeville, Connecticut, among other places.

          6.      At all relevant times, Culver has held membership interests in the Racing School,

with Culver holding no less than fifty-one (51%) percent of the voting power of the issued and

outstanding Membership Units, as defined in the Racing School Limited Liability Company

Agreement, on a fully-diluted basis.

          7.      Culver is and has been at all relevant times the President of the Racing School.

          8.      By a certain Loan and Security Agreement made and entered into on January 25,

2011 (the “2011 Loan Agreement”), People’s agreed to make available to the Racing School

from time to time Line of Credit Loans, as defined therein, in an aggregate principal amount not

to exceed one million ($1,000,000.00) dollars, all as evidenced by a certain Line of Credit Note,

as also defined in the Loan Agreement (the “2011 Note”). A copy of the 2011 Loan Agreement

is appended hereto and incorporated herein as Exhibit A. A copy of the 2011 Note is appended

hereto and incorporated herein as Exhibit B.

          9.      By a certain Continuing Guaranty (Unlimited) dated January 25, 2011 (the

“Culver 2011 Guaranty”), Culver, in order to induce People’s to make loans and other financial

accommodations to the Racing School, being defined in the Culver 2011 Guaranty as the

“Obligations,” and in consideration thereof, agreed to be unconditionally liable to People’s for


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the due performance and the prompt payment of all of the Obligations, together with all interest

thereon and all other amounts chargeable thereon, including all costs of collection, including

reasonable attorney’s fees. A copy of the Culver 2011 Guaranty is appended hereto as Exhibit C.

          10.   The Loan Agreement is in default and Obligations have been accelerated and

demanded of both the Racing School and Culver. A copy of the Demand Letter is appended

hereto and incorporated herein as Exhibit D.

          11.   People’s is the holder of the 2011 Note and the Culver 2011 Guaranty and is a

person entitled to enforce the 2011 Note and the Culver 2011 Guaranty.

          12.   Despite demand Culver has refused and failed to pay the indebtedness owed

pursuant to the 2011 Note, or to otherwise duly perform the Obligations under the 2011 Loan

Agreement and the Culver 2011 Guaranty.

          13.   There is presently due and owing to People’s pursuant to the 2011 Loan

Agreement and the 2011 Note the principal sum of $992,235.72, plus accrued interest through

February 28, 2017 in the amount of $38,342.01, which interest accrues at the per diem rate of

$186.04, together with accrued late charges in the amount of $1,387.06, and together with all

costs of collection and reasonable attorney fees (the “2011 Indebtedness”).

          14.   Culver is liable to People’s for the 2011 Indebtedness in accordance with the

terms of the Culver 2011 Guaranty.

IV.       SECOND COUNT: Breach of Guaranty of the 2013 Loan Agreement By
          Michael C. Culver:

          15.   Paragraphs 5 through 7 are hereby repeated and made paragraphs 15 through 17

of this Second Count as if fully set forth herein.

          18.   By a certain Loan and Security Agreement made and entered into on September

12, 2013 (the “2013 Loan Agreement”), People’s agreed to make available to the Racing School


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from time to time a Working Capital Line of Credit Loan, as defined therein, in an aggregate

principal amount not to exceed one million ($200,000.00) dollars, all as evidenced by a certain

Working Capital Line of Credit Note, as also defined in the Loan Agreement (the “2013 Note”).

A copy of the 2013 Loan Agreement is appended hereto and incorporated herein as Exhibit E. A

copy of the 2013 Note is appended hereto and incorporated herein as Exhibit F.

          19.   The 2013 Loan Agreement was amended by a certain First Amendment to Loan

and Security Agreement dated as of May 22, 2015 (the “First Amendment”). A copy of the First

Amendment is appended hereto and incorporated herein as Exhibit G.

          20.   By a certain Continuing Guaranty (Unlimited) dated September 12, 2013 (the

“Culver 2013 Guaranty”), Culver, in order to induce People’s to make loans and other financial

accommodations to the Racing School, being defined in the 2013 Culver 2013 Guaranty as the

“Obligations,” and in consideration thereof, agreed to be unconditionally liable to People’s for

the due performance and the prompt payment of all of the Obligations, together with all interest

thereon and all other amounts chargeable thereon, including all costs of collection, including

reasonable attorney’s fees. A copy of the Culver 2013 Guaranty is appended hereto as

Exhibit H.

          21.   The 2013 Loan Agreement is in default and Obligations have been accelerated

and demanded of both the Racing School and Culver. A copy of the Demand Letter is appended

hereto and incorporated herein as Exhibit D.

          22.   People’s is the holder of the 2013 Note and the Culver 2013 Guaranty and is a

person entitled to enforce the 2013 Note, and the Culver 2013 Guaranty.




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          23.     Despite demand Culver has refused and failed to pay the indebtedness owed

pursuant to the 2013 Note, or to otherwise duly perform the Obligations under the 2013 Loan

Agreement and the Culver 2013 Guaranty.

          24.     There is presently due and owing to People’s pursuant to the 2013 Loan

Agreement and the 2013 Note the principal sum of $200,000.00 plus accrued interest through

February 28, 2017 in the amount of $6,844.44, which interest accrues at the per diem rate of

$33.33, together with accrued late charges in the amount of $10,297.22, and together with all

costs of collection and reasonable attorney fees (the “2013 Indebtedness”).

          25.     Culver is liable to People’s for the 2013 Indebtedness in accordance with the

terms of the Culver 2013 Guaranty.



WHEREFORE, the Plaintiff claims:

          1.      Money damages against the Defendant, Michael C. Culver;

          2.      Interest, costs and attorneys’ fees;

          3.      Such other and further relief as at law or in equity may pertain.

                                                 Respectfully submitted,

                                                 PLAINTIFF,
                                                 PEOPLE’S UNITED BANK

                                                 By:       /s/ Edward J. Pontacoloni
                                                       EDWARD J. PONTACOLONI, ESQ.
                                                       Federal Bar No. ct05771
                                                       Updike, Kelly & Spellacy, P.C.
                                                       One Pearl Street, 17th Fl.
                                                       P.O. Box 231277
                                                       Hartford, CT 06123-1277
                                                       Email: epontacoloni@uks.com
                                                       Tel. (860) 548-2647
                                                       Fax. (860) 548-2680
                                                       Attorney for Plaintiff


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